      Case 1:07-cr-00316-DAD-SKO Document 182 Filed 03/10/11 Page 1 of 2


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Attorney for Defendant, TONY LIENG

                             IN THE UNITED STATES DISTRICT COURT FOR THE

                                   EASTERN DISTRICT OF CALIFORNIA


                                                      ) Case No.: No. 1:07-CR-00316 LJO (003)
UNITED STATES OF AMERICA,                             )
                                                      ) STIPULATION RE: MODIFYING
                Plaintiff,                            ) DEFENDANT’S TERMS OF PRETRIAL
                                                      ) SERVICES SUPERVISION;
        vs.                                           )
                                                      ) ORDER
TONY LIENG                                            )
                                                      )
                Defendant                             )
                                                      )
                                                      )
                                                      )
                                                      )
                                                      )




TO:     THE UNITED STATES DISTRICT COURT, TO THE UNITED STATES ATTORNEY’S

OFFICE, AND PRE-TRIAL SERVICES:

        IT IS HEREBY STIPULATED by and between the parties herein that the status of Mr. Lieng’s terms of

supervised released be modified so he can attend his brother-in-law’s wedding. Mr. Lieng would be leaving his

home located in Clovis, CA on March 11, 2011 at 3:00 p.m. He will staying in Lake Elsinore, California. He

will leaving that location and be returning home on March 14, 2011 at 4:00 a.m.

        This request has been discussed with Mr. Jacob Scott, Mr. Lieng’s pre-trial officer and Ms. Karen

Escobar, the AUSA handling Mr. Lieng’s case. Both parties do not have any objection to this request.
      Case 1:07-cr-00316-DAD-SKO Document 182 Filed 03/10/11 Page 2 of 2




DATED: March 9, 2011                            Respectfully Submitted,



                                                /s/ JON K. RENGE

                                                _______________________________________
                                                JON K. RENGE
                                                Attorney for Tony Lieng


DATED: March 9, 2011
                                                /s/ KAREN ESCOBAR
                                                __________________________________________
                                                Assistant U.S. Attorney


                                             *********

                                               ORDER


         IT IS ORDERED that Mr. Lieng’s terms of pretrial supervision be modified so he can attend his

brother-in-law’s wedding. Mr. Lieng would be leaving his home located in Clovis, CA on March 11, 2011 at

3:00 p.m. He will staying in Lake Elsinore, California. He will leaving that location and be returning home on

March 14, 2011 at 4:00 a.m.




IT IS SO ORDERED.

Dated:     March 10, 2011                            /s/ Sandra M. Snyder
icido3                                        UNITED STATES MAGISTRATE JUDGE




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